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PROPOSED ATTORNEYS KRIS U HOSPITALITY, LLC
DEBTOR AND DEBTOR IN POSSESSION

IN RE:

KRISU HOSPITALITY, LLC ,

Debtor.

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

Case No. 19-20347
(Chapter 11)

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MOTION FOR EXPEDITED HEARING REGARDING FIRST DAY MOTIONS

 

TO THE HONORABLE ROBERT L, JONES, U.S, BANKRUPTCY JUDGE:

Knisu Hospitality, LLC, debtor and debtor m possession (“Knsu" or the "Debtor") file this

Motion for Expedited Hearing regarding the first day motions referenced and described herem, and mn

support thereof would show to the Court the following.

l.

On November 6 , 2019, Krisu filed the following Motions (collectively, the "First Day

Motions") for which Krisu seeks an expedited hearing,

a.

b.

Debtor’s Application for Employment of Attorney
Motion to Use Cash Collateral
Motion to Obtain Bank Accounts
Motion to Pay Pre-Petition Wages

Motion to Extend Time for Filing Certain Lists, Schedules and Statements

 

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2. Requested _hearmg date and objection deadline: The Debtors respectfully request that
the Court set an expedited hearing on November 12, 2019.

3. Reason for expedited hearmg: An expedited hearing is necessary so that the Debtor
may use cash collateral to pay ordinary expenses, including pay pre-petition wages as set forth in the
First Day Motions.

4. Krisu is scheduled to make tts next payroll on November 12, 2019.

5. Notice is sufficient. Setting an expedited hearing provides sufficient notice due to the
prior order entered in this case and in light of the nature of the relief requested.

6, Reason hearing not requested sooner. A hearmg was requested as soon as Krisu
commenced the above-captioned case.

WHEREFORE, Knisu Hospitality, LLC, debtor and debtor m possession respectfully requests

that Court set an expedited hearing on November 12, 2019. The Debtor respectfully requests such

 

other and further reliefto which the Debtor is entitled at law or in equity.
Dated: November 6, 2019 Respectfully submitted:
SWINDELL LAW FIRM

By:  /Patrick A, Swindell

Patrick A. Swindell

State Bar No, 19587450

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PROPOSED ATTORNEYS FOR KRISU
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POSSESSION

 

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CERTIFICATE OF SERVICE
A separate Certificate of Service will be filed.

‘sf Patrick A. Swindell
Patrick A. Swindell

 

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